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                       UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF PENNSYLVANIA

______________________________                        Case Number
DUNCAN & CATHERINE            )
HOFFMAN, h/w                   )
            Plaintiffs         )
                               )                      CIVIL COMPLAINT
            vs.                )
                               )
TRANSWORLD SYSTEMS, INC. )                            JURY TRIAL DEMANDED
                               )
            Defendant          )
______________________________)


                         COMPLAINT AND JURY DEMAND

          COMES NOW, Plaintiffs, Duncan and Catherine Hoffman, h/w, by and through

their undersigned counsel, Bruce K. Warren, Esquire of Warren & Vullings, LLP,

complaining of Defendant, and respectfully aver as follows:

                          I. INTRODUCTORY STATEMENT

          1.    Plaintiffs, Duncan and Catherine Hoffman, h/w, are adult natural persons

and bring this action for actual and statutory damages and other relief against Defendant

for violations to the Fair Debt Collection Practices Act, 15 U.S.C. § 1692 et seq.

(“FDCPA”), which prohibits debt collectors from engaging in abusive, deceptive and

unfair practices.

                                   II. JURISDICTION

       2.       Jurisdiction of this Court arises under 15 U.S.C. § 1692k(d) and 28 U.S.C.

§ 1337.

       3.       Venue in this District is proper in that the Defendant transacts business in

the Commonwealth of Pennsylvania and Plaintiff resides in this District.
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                                     III. PARTIES

        4.     Plaintiffs, Duncan and Catherine Hoffman, h/w, are adult natural persons

residing at 243 North Olds Boulevard, Fairless Hills, PA 19030.

        5.     Defendant, Transworld Systems, Inc. (“Defendant”), at all times relevant

hereto, is and was a corporation engaged in the business of collecting debt within the

Commonwealth of Pennsylvania with its principal place of business located at 1375 East

Woodfield Road, Suite 110, Schaumburg, IL 60173.

        6.     Defendant is engaged in the collection of debts from consumers using the

telephone and mail. Defendant regularly attempts to collect consumer debts alleged to be

due to another. Defendant is a “debt collector” as defined by the FDCPA, 15 U.S.C.

§1692a(6).

                           IV. FACTUAL ALLEGATIONS

        7.     In or around early November 2008, Defendant’s agent, an unknown male

representative, began a series of harassing phone calls to Plaintiff, Catherine Hoffman’s

place of employment in regards to an alleged debt owed by Plaintiff, Duncan Hoffman.

        8.     Simultaneously, Defendant’s agent was calling the Plaintiffs’ home phone.

        9.     Defendant’s agent refused to say where he was calling from or to give his

name.

        10.    Despite Plaintiff, Catherine Hoffman’s repeated requests to cease and

desist calling her at work, Defendant’s agent continued to do so, sometimes up to 3 times

per week.
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         11.   In or around the middle of December 2008, Defendant’s agent began to

call Plaintiff, Duncan Hoffman’s place of employment with regard to the same alleged

debt.

         12.   Despite Plaintiff, Duncan Hoffman’s repeated requests to cease and desist

calling him at work, Defendant’s agent continued to do so 2 to 3 times per week.

         13.   Simultaneously, Defendant’s agent continued to call Plaintiffs’ home

phone.

         14.   On or around December 23, 2008, Defendant’s agent told Plaintiff,

Duncan Hoffman, “Mr. Hoffman, we’re gonna file this against you. Take down this file

number. We’ll probably file the day before or after Christmas. You should obtain

representation.” Plaintiff, Duncan Hoffman asked why he would need representation.

Defendant’s agent replied, “Because, we are going to file this against you. You’re going

to need an attorney.”

         15.   On or around January 9, 2009, Plaintiff, Catherine Hoffman answered the

home phone. Defendant’s agent became belligerent with Plaintiff, speaking over her and

raising his voice. He again refused to state where he was calling from or give his name.

He demanded full payment from Mrs. Hoffman and informed Plaintiff that he could get

the payment “somehow”.

         16.   At no time did Defendant’s agent mini-Miranda Plaintiffs, which is a

direct violation of Federal law.

         17.   The intentional deceptions on the part of the Defendant are in violation of

the FDCPA.
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        18.     The constant and repetitive contact with Plaintiffs at their respective

places of employment after being informed that it is prohibited is in violation of the

FDCPA.

        19.     Defendant did not send Plaintiffs a 30 day validation notice within 5 days

of initial contact as required by Federal law.

        20.     Defendant has not filed anything, including a lawsuit, against Plaintiffs.

        21.     The Defendant acted in a false, deceptive, misleading and unfair manner

when they engaged in conduct the natural consequences of which is to harass, oppress, or

abuse such person in connection with the collection of a debt.

        22.     The Defendant acted in a false, deceptive, misleading and unfair manner

by threatening to take action that it did not intend to take for the purpose of coercing

Plaintiffs to pay the debt.

        23.     The Defendant knew or should have known that their actions violated the

FDCPA. Additionally, Defendant could have taken the steps necessary to bring their and

their agent’s actions within compliance of the FDCPA, but neglected to do so and failed

to adequately review those actions to insure compliance with the law.

        24.     At all times pertinent hereto, Defendant was acting by and through it

agents, servants and/or employees, who were acting with the scope and course of their

employment and under the direct supervision and control of Defendant herein.

        25.     At all times pertinent hereto, the conduct of Defendant as well as its

agents, servants and/or employees, was malicious, intentional, willful, reckless, negligent

and in wanton disregard for federal and state law and the rights of the Plaintiffs herein.
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        26.     As a result of Defendant’s conduct, Plaintiffs have sustained actual

damages, including, but not limited to, injury to Plaintiff’s reputation, invasion of

privacy, damage to Plaintiff’s credit, out-of-pocket expenses, physical, emotional and

mental pain and anguish and pecuniary loss and they will continue to suffer same for an

indefinite time in the future, all to their great detriment and loss.

                                     COUNT 1 – FDCPA

        27.     The above paragraphs are hereby incorporated herein by reference.

        28.     At all times relevant hereto, Defendant was attempting to collect an

alleged debt which was incurred by Plaintiffs for personal, family or household purposes

and is a “debt” as defined by 15 U.S.C. § 1692a(5).

        29.     The foregoing acts and omissions constitute violations of the FDCPA,

including but not limited to, violations of §§ 169c(a)(1), c(a)(3), c(b), d, d(5), d(6), e,

e(2), e(5), e(7), e(10), e(11), e(14), f and g.

        WHEREFORE, Plaintiffs respectfully pray that judgment be entered against the

Defendant, Transworld Systems, Inc. for the following:

        a.      Declaratory judgment that Defendant’s conduct violated the FDCPA and

                declaratory and injunctive relief for the Defendant’s violations of the state

                Act;

        b.      Actual damages;

        c.      Statutory damages pursuant to 15 U.S.C. § 1692k;

        d.      Reasonable attorney’s fees and litigation expenses, plus costs of suit; and

        e.      Such additional and further relief as may be appropriate or that the

                interests of justice require.
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                                        COUNT II
        VIOLATIONS OF PENNSYLVANIA FAIR CREDIT EXTENSION
                                   UNIFORMITY ACT
                           (FCEUA, 73 Pa. C.S. § 2270.1 et seq.)

       30.     Plaintiffs repeat, re-allege and incorporate by reference the foregoing

paragraphs.

       31.     The collection of a debt in Pennsylvania is proscribed by the Fair Credit

Extension Uniformity Act at 73 Pa. C.S. § 2270.1 et seq., (“FCEUA”) and the

Pennsylvania Unfair Trade Practices and Consumer Protection Law 73 Pa. C.S 201-1 et

seq. (“UTPCPL”). Defendant is a debt collector pursuant to 73 Pa. C.S. § 2270.3.

       32.     The alleged debt Defendant was attempting to collect is a debt as defined

by 73 Pa. C.S. § 2270.3.

       33.     The FCEUA proscribes, inter alia, engaging in any false, misleading or

deceptive representations when attempting to collect a consumer debt.

       34.     The actions of Defendant, as aforesaid, constitute false, misleading or

deceptive representations.

       35.     Violations of the FDCPA is a per se violation of the FCEUA and the

UTPCPL.

       36.     As a direct and proximate result of the said actions, Plaintiffs have

suffered financial harm.

       37.     By virtue of the violations of the law as aforesaid, and pursuant to the

FCEUA and UTPCPL, Plaintiffs are entitled to an award of actual damages, treble

damages, attorney’s fee and costs of suit.
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        WHEREFORE, Plaintiffs pray this Honorable Court enter judgment in their

favor and against Defendant, and Order the following relief:

        a.         Actual damages;

        b.         Treble damages;

        c.         An award of reasonable attorneys fees and expenses and costs of court;

and

        d.         Such additional relief as is deemed just and proper, or that the interests of

justice require.

                                           COUNT III
      VIOLATIONS OF PENNSYLVANIA CONSUMER PROTECTION LAW
                           (“UTPCPL”), 73 Pa. C.S. § 201-1 et seq.

        38.        The foregoing paragraphs are incorporated herein by reference.

        39.        Plaintiffs and Defendant are “Persons” to 73 Pa. C.S § 201-2.

        40.        The UTPCPL proscribes, inter alia, engaging in any “unfair or deceptive

acts or practices”, either at, and prior to or subsequent to a consumer transaction.

        41.        The action of Defendant, as aforesaid, constitutes unfair acts or practices

under the UTPCPL, by way of the following, inter alia:

        a.         Defendant misrepresented to Plaintiffs the character, extent or amount of

the debt or its status in a legal proceeding, 73 Pa. C.S. § 201-3.1;

        b.         Defendant engaged in deceptive or fraudulent conduct which created a

likelihood of confusion or of misunderstanding, 73 Pa. C.S. § 201-2(xxi);
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        c.       Defendant failed to comply with the FDCPA and FCEUA which are per se

violations of the UTPCPL.

        42.      As a direct and proximate result of the said actions, Plaintiffs have

suffered financial damages and other harm.

        43.      By virtue of the violations of law aforesaid and pursuant to the UTPCPL,

Plaintiffs are entitled to an award of actual damages, treble damages, attorney’s fees and

costs of suit.

        WHEREFORE Plaintiffs pray this Honorable Court enter judgment in their favor

and against Defendant, and Order the following relief:

        a.       An Order declaring that Defendant violated the UTPCPL;

        b.       Actual damages;

        c.       Treble damages;

        d.       An award of reasonable attorney’s fees and expenses and cost of suit; and

        e.       Such additional relief as is deemed just and proper, or that the interest of

justice may require.
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                                 V. JURY DEMAND

      Plaintiff hereby demands a jury trial as to all issues herein.



                                              Respectfully submitted,

                                              WARREN & VULLINGS, LLP

Date: January 23, 2009                  BY:      /s/ Bruce K. Warren
                                              Bruce K. Warren, Esquire
                                              Warren & Vullings, LLP
                                              1603 Rhawn Street
                                              Philadelphia, PA 19111
                                              215-745-9800 Fax 215-745-7880
                                              Attorney for Plaintiff
